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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF LOUISIANA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Lisa
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Musselwhite
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   McGoey
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-4426
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
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Debtor 1    Lisa Musselwhite McGoey                                                                   Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 425 East 10th Ave.
                                 Covington, LA 70433
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Saint Tammany
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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Debtor 1    Lisa Musselwhite McGoey                                                                       Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor      Paul Michael McGoey                                          Relationship to you        Husband
                                              District    Eastern                       When     10/15/19              Case number, if known      19-12825
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Lisa Musselwhite McGoey                                                                        Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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Debtor 1    Lisa Musselwhite McGoey                                                                    Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1    Lisa Musselwhite McGoey                                                                       Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                               individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.       Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                       are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Lisa Musselwhite McGoey
                                 Lisa Musselwhite McGoey                                           Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     October 15, 2019                                  Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1    Lisa Musselwhite McGoey                                                                       Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Wilbur J. "Bill" Babin, Jr.                                    Date         October 15, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Wilbur J. "Bill" Babin, Jr. 1214
                                Printed name

                                The Derbes Law Firm, LLC
                                Firm name

                                3027 Ridgelake Drive
                                Metairie, LA 70002
                                Number, Street, City, State & ZIP Code

                                Contact phone     (504) 837-1230                             Email address

                                1214 LA
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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 Fill in this information to identify your case:

 Debtor 1                   Lisa Musselwhite McGoey
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF LOUISIANA

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             313,558.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             258,991.09

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             572,549.09

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,018,038.73

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          1,493,221.61


                                                                                                                                     Your total liabilities $             2,511,260.34


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $              21,236.43

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              28,100.44

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
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 Debtor 1      Lisa Musselwhite McGoey                                                    Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                    Lisa Musselwhite McGoey
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF LOUISIANA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Lisa Musselwhite McGoey                                               X
              Lisa Musselwhite McGoey                                                   Signature of Debtor 2
              Signature of Debtor 1

              Date       October 15, 2019                                               Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Lisa Musselwhite McGoey
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF LOUISIANA

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $52,674.97            Wages, commissions,              $104,575.00
 the date you filed for bankruptcy:
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




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                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income         Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.     (before deductions
                                                                                    exclusions)                                              and exclusions)

 For last calendar year:                              Wages, commissions,                       $65,683.32            Wages, commissions,         $101,638.40
 (January 1 to December 31, 2018 )
                                                   bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business

 For the calendar year before that:                   Wages, commissions,                       $61,508.36            Wages, commissions,         $208,269.14
 (January 1 to December 31, 2017 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income         Gross income
                                                   Describe below.                  each source                    Describe below.           (before deductions
                                                                                    (before deductions and                                   and exclusions)
                                                                                    exclusions)
 From January 1 of current year until                                                                  $0.00       Redemption and                  $336,000.00
 the date you filed for bankruptcy:                                                                                Surrender
                                                                                                                   Agreement, Release
                                                                                                                   and Indemnity
                                                                                                                   Agreement with New
                                                                                                                   Orleans Hamburger
                                                                                                                   and Seafood
                                                                                                                   Company, et. al.

                                                                                                       $0.00       Well Fargo -IRA                  $87,162.01

 For last calendar year:                                                                               $0.00       Wells Fargo IRA                 $269,600.00
 (January 1 to December 31, 2018 )

 For the calendar year before that:                Federal Tax Refund                           $56,607.00
 (January 1 to December 31, 2017 )


                                                   State Tax Refund                             $11,279.00


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


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            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       PNC Bank                                                  8/03/2019 -                    $7,463.34         $299,028.99         Mortgage
       PO Box 1820                                               $2,487.78                                                            Car
       Dayton, OH 45401-1820                                     9/03/2019 -
                                                                                                                                      Credit Card
                                                                 $2,487.78
                                                                                                                                      Loan Repayment
                                                                 10/03/2019 -
                                                                 $2,487.78                                                            Suppliers or vendors
                                                                                                                                      Other


       Gulf Coast Bank                                           8/7/2019 -                   $15,326.98          $155,069.25         Mortgage
       Attn: Michael Carter                                      $3,200.00                                                            Car
       200 St. Charles Avenue                                    8/9/2019 -                                                           Credit Card
       New Orleans, LA 70130                                     $3,142.23                                                            Loan Repayment
                                                                 8/14/2019 -
                                                                                                                                      Suppliers or vendors
                                                                 $8,984.75
                                                                                                                                      Other Unsecured loan


       Gulf Coast Bank                                           7/30/2019 -                    $7,490.88         $310,841.05         Mortgage
       Attn: Michael Carter                                      $2,348.37                                                            Car
       200 St. Charles Avenue                                    8/15/2019 -
                                                                                                                                      Credit Card
       New Orleans, LA 70130                                     $472.29
                                                                                                                                      Loan Repayment
                                                                 9/13/2019 -
                                                                 $2,335.11                                                            Suppliers or vendors
                                                                 9/18/2019 -                                                          Other Unsecured loan
                                                                 $2,335.11


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe
       Frank McGoey                                              June, 2019                   $15,000.00                  $0.00     Payment in accordance
       400 W. 30th Street                                                                                                           with terms of agreement
       New Orleans, LA 70124                                                                                                        with brother


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name




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 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:
       Lloyd Simmons                                                 2004 Honda Motorcycle                                    September 18,                $1,600.00
       2940 St. Roch Avenue                                                                                                   2019
       New Orleans, LA 70122

       Person's relationship to you:


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       VOA Southeast Chapter                                         Yearly Charitable Giving                                 08/5/2018                    $2,500.00
       4152 Canal Street
       New Orleans, LA 70119




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 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                                                                                  loss                            lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Abacus Credit Counseling                                      Credit Counseling                                        10/6/2019                     $25.00
       www.abacuscc.org


       The Derbes Law Firm, LLC                                      Attorney fee - $3,080.00                                 10/09/2019                $3,335.00
       3027 Ridgelake Drive                                          Filing fee - $335.00
       Metairie, LA 70002


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       New Orleans Hamburger and Seafood                             Redemption and Surrender                   6/3/19 -$300,000.00             signed effective
       Co.                                                           Agreement, Release and                     Note for $216,000.00            12/27/2018
       Gary& Sander Weiner & Norris                                  Indemnity Agreement with
       Gremillion                                                    New Orleans Hamburger and
       Blue, Williams, LLP                                           Seafood Company, et. al.
       3421 N. Causeway Blvd., #900
       Metairie, LA 70002




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       Person Who Received Transfer                                  Description and value of                   Describe any property or     Date transfer was
       Address                                                       property transferred                       payments received or debts   made
                                                                                                                paid in exchange
       Person's relationship to you
       Patrick McGoey                                                Debtor sold his 50% interest               Debtor received              August 8, 2018
       909 Poydras Street                                            in MCGOBROS LLC to                         $112,500.00
       Suite 1600                                                    Patrick McGoey.
       New Orleans, LA 70112

       Brother


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                       Date Transfer was
                                                                                                                                             made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was          Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,         before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                          Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)




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       Owner's Name                                                  Where is the property?                     Describe the property                      Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       Garrett M. McGoey                                             Lisa McGoey is a signer                    Chase checking                       $2,000.00
                                                                     on children's
                                                                     account. Money in
                                                                     accounts belongs
                                                                     to children.

       Kendall M. McGoey                                             Lisa McGoey is a signer                    Chase checking                         $300.00
                                                                     on children's
                                                                     account. Money in
                                                                     accounts belongs
                                                                     to children.


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case             Status of the
       Case Number                                                   Name                                                                      case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

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                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business             Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       OnePack Hospitality Group LLC                             Hospitality Management and                      EIN:         XX-XXXXXXX
       425 E. 10th Ave                                           consulting company
       Covington, LA 70433                                       50% Paul McGoey - 50% Bernard                   From-To      12/01/2017 - Present

                                                                 John M. McMahon

       NOCBC Metairie #1 LLC                                     100% - Paul McGoey                              EIN:         XX-XXXXXXX
       900 Camp Street                                           Owns Legacy Kitchen - 749
       #359                                                      Veterans                                        From-To      05/28/2013 - Present
       New Orleans, LA 70130
                                                                 John M. McMahon

       Legacy Gretna #1 LLC                                      98.5% Paul McGoey                               EIN:         XX-XXXXXXX
       900 Camp Street                                           1.5% Randy Fair
       #359                                                      Owns Legacy Ktchen Steak and                    From-To      11/10/2016 - Present
       New Orleans, LA 70130                                     Chop - 91 Westbank Expy, Gretna

                                                                 John M. McMahon

       OPHG Baton Rouge 1 LLC                                    39% Paul McGoey - 61% OnePack                   EIN:         XX-XXXXXXX
       900 Camp Street                                           Hospitality Group, LLC owns
       #359                                                      Provision on Perkins - 3535                     From-To      09/6/2018 - Present
       New Orleans, LA 70130                                     Perkins Road, Suite 400, Baton
                                                                 Rouge, LA 70808

                                                                 John M. McMahon

       NOHSC Inc                                                 Sold June, 2019 - Restaurant                    EIN:
       3636 South I-10 Service Road West
       Metairie, LA 70001                                        John M. McMahon                                 From-To      11/01/2005 12/27/2018

       Four Burgers LLC                                          Sold June, 2019 - Restaurant                    EIN:
       3636 South I-10 Service Road West                         Management Company
       Metairie, LA 70001                                                                                        From-To      11/01/2005 12/27/2018
                                                                 John M. McMahon

       NOSHC IP, LLC                                             Sold June, 2019 - Intellectual                  EIN:
       3636 South I-10 Service Road West                         Property Company
       Metairie, LA 70001                                                                                        From-To      11/01/2005 12/27/2018
                                                                 John M. McMahon

       NOHSC License LLC                                         Sold June, 2019 - A licensing                   EIN:
       3636 South I-10 Service Road West                         Company
       Metairie, LA 70001                                                                                        From-To      11/01/2005 12/27/2018
                                                                 John M. McMahon

       NOHSC LLC                                                 Sold June, 2019 - Restaurant                    EIN:
       3636 South I-10 Service Road West                         Management Company
       Metairie, LA 70001                                                                                        From-To      11/01/2005 12/27/2018
                                                                 John M. McMahon




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       Business Name                                             Describe the nature of the business             Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       McGoBros L.L.C.                                           50% Paul McGoey - 50% Patrick                   EIN:
       909 Poydras Street                                        McGoey
       New Orleans, LA 70112                                     Paul McGoey sold his 50% to                     From-To
                                                                 Patrick McGoey on August 8, 2018



       MCG Legacy 2, L.L.C.                                      100% Paul McGoey                                EIN:         XX-XXXXXXX
       425 East 10th Avenue                                      - owns 30% of Legacy NOLA #1,
       Covington, LA 70433                                       LLC which owns Legacy                           From-To      10/6/2014 - Present
                                                                 Kitchen's Craft Tavern, 700
                                                                 Tchoupitoulas
                                                                 - owns 10% of Legacy NOLA #2,
                                                                 LLC which owns Legacy
                                                                 Kitchen's Tacklebox, f/k/a Legacy
                                                                 Kitchen Oyster Counter and Tap
                                                                 Room, 817 Common Street, New
                                                                 Orleans, LA 70130



       Five Burgers, L.L.C.                                      Sold June, 2019                                 EIN:
       3636 S I-10 Service Road West
       Metaire, LA 70001                                                                                         From-To


       NOHSC Houma #1, LLC                                       Closed 2018                                     EIN:         XX-XXXXXXX
       6131 W. Park Ave.
       Houma, LA 70363                                                                                           From-To


       NOHSC Laplace #1, LLC                                     Closed 2018                                     EIN:         XX-XXXXXXX
       1338 Airline Hwy
       Laplace, LA 70068                                                                                         From-To


       NOHSC Mandeville #1, LLC                                  Closed 2/2019                                   EIN:         XX-XXXXXXX
       3900 Hwy 22
       Mandeville, LA 70471                                                                                      From-To


       NOHSC Harvey #1 LLC                                       Sold June, 2019                                 EIN:         XX-XXXXXXX
       2515B Manhatten Blvd.
       Harvey, LA 70058                                                                                          From-To


       NOHSC Uptown #1, LLC                                      Sold June, 2019                                 EIN:         XX-XXXXXXX
       4141 St. Charles Ave.
       New Orleans, LA 70115                                                                                     From-To


       NOCBC Veterans #2, LLC                                    Closed 2017                                     EIN:         XX-XXXXXXX
       3005 Veterans Hwy
       Metairie, LA 70002                                                                                        From-To


       NOHSC Decatur #1, LLC                                     Sold June, 2019                                 EIN:         XX-XXXXXXX
       541 Street
       New Orleans, LA 70130                                                                                     From-To


       NOHSC Slidell #2, LLC                                     Sold June, 2019                                 EIN:         XX-XXXXXXX
       1677 Gause Blvd
       Slidell, LA 70458                                                                                         From-To




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        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        NOHSC NO East #1, LLC                                    Sold June, 2019                                 EIN:         XX-XXXXXXX
        12000 I-10 Service Road
        New Orleans, LA 70128                                                                                    From-To


        Legacy Mandeville #1, LLC                                Sold November, 2017                             EIN:         XX-XXXXXXX
        2891 Hwy 190
        Mandeville, LA 70471                                                                                     From-To


        NOHSC Management, LLC                                    Sold June, 2019                                 EIN:         XX-XXXXXXX
        3636 S I-10 Service Road West
        Metaire, LA 70001                                                                                        From-To


        NOHSC Gretna #1, LLC                                     Oakwood New Orleans                             EIN:
        3636 South I-10 Service Road West                        Hamburger and Seafood location
        Suite 300                                                Sold June, 2019                                 From-To      11/02/2016 - Present
        Metairie, LA 70001


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        Gulf Coast Bank                                          6/28/2018
        200 St. Charles Avenue
        New Orleans, LA 70130

        Hancock Whitney Bank                                     06/5/2019
        701 Poydras Street                                       Provided business financials;
        New Orleans, LA 70139                                    nothing personal

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Lisa Musselwhite McGoey
 Lisa Musselwhite McGoey                                                 Signature of Debtor 2
 Signature of Debtor 1

 Date      October 15, 2019                                              Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 10
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 Fill in this information to identify your case:

 Debtor 1                  Lisa Musselwhite McGoey
                           First Name                       Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF LOUISIANA

 Case number
 (if known)                                                                                                                      Check if this is an
                                                                                                                                 amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                    12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Audi Financial Services                              Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of        2018 Audi A3 29,900 miles                         Reaffirmation Agreement.
    property              Vehicle: (Community Property)                     Retain the property and [explain]:
    securing debt:



    Creditor's         Land Rover Financial Group                           Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of        2014 Land Rover Range Rover                       Reaffirmation Agreement.
    property              76,000 miles                                      Retain the property and [explain]:
    securing debt:        Vehicle: (Community Property)

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                  page 1

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 Debtor 1      Lisa Musselwhite McGoey                                                               Case number (if known)


 Lessor's name:               Lakeside Imports Inc                                                                            No

                                                                                                                              Yes

 Description of leased        Leased 2019 Toyota RAV 4 for Lisa McGoey
 Property:

 Lessor's name:               Lakeside Imports Inc                                                                            No

                                                                                                                              Yes

 Description of leased        Leased 2019 Toyota Corolla for Paul McGoey
 Property:



 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Lisa Musselwhite McGoey                                                  X
       Lisa Musselwhite McGoey                                                          Signature of Debtor 2
       Signature of Debtor 1

       Date        October 15, 2019                                                 Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 2

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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Eastern District of Louisiana
 In re       Lisa Musselwhite McGoey                                                                          Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,080.00
             Prior to the filing of this statement I have received                                        $                     3,080.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal services for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed, through 341 Creditors Meeting.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding, 2004 examinations, contested matters, and any other items not listed in item
               number 6 above. This work will be handled on an hourly basis at the Derbes Law Firm's published rates. No
               portion of this will be paid by the Estate.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 15, 2019                                                            /s/ Wilbur J. "Bill" Babin, Jr.
     Date                                                                        Wilbur J. "Bill" Babin, Jr. 1214
                                                                                 Signature of Attorney
                                                                                 The Derbes Law Firm, LLC
                                                                                 3027 Ridgelake Drive
                                                                                 Metairie, LA 70002
                                                                                 (504) 837-1230 Fax: (504) 837-2214
                                                                                 Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Eastern District of Louisiana
 In re      Lisa Musselwhite McGoey                                                                   Case No.
                                                                                   Debtor(s)          Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: October 15, 2019                                                 /s/ Lisa Musselwhite McGoey
                                                                        Lisa Musselwhite McGoey
                                                                        Signature of Debtor




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                         A and L Sales
                         111 Dr Bowen St
                         Belle Chasse, LA 70037


                         Alarm Protection Services
                         4440 Trenton Street
                         Metairie, LA 70006


                         All Temp Referigeration Services
                         271 La-1085
                         Madisonville, LA 70447


                         All Temp Refrigeration Services
                         271 La-1085
                         Madisonville, LA 70447


                         Alpine Acadian, LLC
                         3867 Plaza Tower Drive
                         First Floor
                         Baton Rouge, LA 70816


                         Alpine Acadian, LLC
                         Attn: Robert Dozier
                         2999 Turtle Creek Blvd.
                         Dallas, TX 75219


                         Ambiance Radio
                         79 E. Daily Drive
                         Suite 263
                         Camarillo, CA 93010


                         American Audio Visual, LLC
                         3348 Drusilla
                         #5C
                         Baton Rouge, LA 70809


                         Artisan Wine
                         321 South Cypress Street
                         Hammond, LA 70403


                         Audi Financial Services
                         P.O. Box 7498
                         Libertyville, IL 60048-7498
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                         Autochlor Services LLC
                         500 Dakin Street
                         Jefferson, LA 70121


                         Balloon Mania of La
                         1130 South Range Avenue
                         Suite A
                         Denham Springs, LA 70726


                         Baton Rouge Shrimp & Oyster Co.
                         1902 Beaumont Drive
                         Baton Rouge, LA 70806


                         Baton Rouge Water Company
                         8755 Goodwood Blvd
                         Baton Rouge, LA 70806


                         Bernard C. Stolberg
                         5600 Evelyn Court
                         New Orleans, LA 70124


                         Billy Heromans Sherwood
                         10812 North Harrells Ferry Road
                         Baton Rouge, LA 70816


                         Brinks Inc
                         901 Labarre Road
                         #103
                         Metairie, LA 70001


                         Brinks Inc.
                         901 Labarre Road
                         #103
                         Metairie, LA 70001


                         Capital City Produce
                         16550 Commercial Ave
                         Baton Rouge, LA 70806


                         Carbons Golden Malted
                         4101 William Richardson Drive
                         South Bend, IN 46628
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                         Cintas
                         625 Elmwood Park Blvd.
                         New Orleans, LA 70123


                         Citi
                         Costco Wholesale
                         Post Office Box 6749
                         Sioux Falls, SD 57117-6749


                         Climate Controlled Self Storage
                         3147 College Drive
                         Baton Rouge, LA 70808


                         Coca Cola Bottling Company
                         5601 Citrus Blvd
                         Harahan, LA 70123


                         Coca-Cola Bottling Company
                         5601 Citrus Blvd
                         New Orleans, LA 70123


                         Commerce Master Tenant, LLC
                         643 Magazine Street, Suite 306
                         New Orleans, LA 70130


                         Community Coffee
                         3332 Partridge Lane
                         Building A
                         Baton Rouge, LA 70809


                         Crescent City Candle
                         1010 Common Street
                         New Orleans, LA 70112


                         Crescent City Electronics
                         10567 Airline Highway
                         St. Rose, LA 70087


                         Crescent Crown Dist
                         5900 Almonaster Avenue
                         New Orleans, LA 70126


                         Crescent Crown Dist.LLC
                         5900 Almonaster Avenue
                         New Orleans, LA 70126
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                         Custom Apparel
                         2617 Edenborn Avenue
                         Metairie, LA 70002


                         Daniel Becket Becnel
                         4425 W. Airline Hgwy
                         Suite B
                         Laplace, LA 70068


                         Debra Dunn
                         1025 Race Street
                         New Orleans, LA 70130


                         Direct TV
                         P.O. Box 105249
                         Atlanta, GA 30348-5249


                         DP1 Design
                         141 Robert E. Lee Blvd.
                         #244
                         New Orleans, LA 70124


                         Entergy
                         P.O. Box 8108
                         Baton Rouge, LA 70891-8108


                         Fire & Safety Commodities
                         245 Woodland Drive
                         Laplace, LA 70068


                         Fire & Safety Commodities
                         922 Industry Road
                         Kenner, LA 70062


                         Gary Solomon
                         5400 Bancroft Dr.
                         New Orleans, LA 70112


                         GBP Direct
                         133 East third Street
                         Westwego, LA 70062


                         Glazer's Companies of LA
                         111 Riverbend Drive
                         St. Rose, LA 70087
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                         Glazers Companies of LA
                         111 Riverbend Drive
                         St. Rose, LA 70087


                         Gulf Coast Bank
                         Attn: Michael Carter
                         200 St. Charles Avenue
                         New Orleans, LA 70130


                         Gulf Coast Blenders
                         7801 Townsend Place
                         New Orleans, LA 70126


                         Hamco New Orleans
                         280 Hord Street
                         New Orleans, LA 70123


                         HM Hotel Owner, LLC
                         700 Tchoupitoulas St.
                         New Orleans, LA 70130


                         Inland Seafood Corp
                         2527 Perdido Street
                         New Orleans, LA 70119


                         Internal Revenue Service
                         Centralized Insolvency Operations
                         P. O. Box 7346
                         Philadelphia, PA 19101-7346


                         Investar Bank
                         7244 Perkins Rd.
                         Baton Rouge, LA 70884


                         J and J Exterminating
                         416 Commerce Point
                         New Orleans, LA 70123


                         J&J Exterminating
                         6313 Equity Drive
                         Baton Rouge, LA 70809
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                         Jerome Roppolo
                         3121 Magazine Street
                         Apartment C
                         New Orleans, LA 70115


                         John D. Georges
                         701 Edwards Street
                         New Orleans, LA 70123


                         Key Vintage Deskjob Investors, LLC
                         Attn: Anthony J. Iarocci
                         643 Magazine St., Suite 306
                         New Orleans, LA 70130


                         Kleinpeter Farms Dairy
                         14444 Airline Highway
                         Baton Rouge, LA 70801


                         Kyle Brechtel
                         930 Poydras St.
                         Suite 1905
                         New Orleans, LA 70112


                         Kyle Crochet
                         610 S. Peters Street
                         Suite 305
                         New Orleans, LA 70130


                         Lake Charles PC, LP
                         Attn: T. McAlister
                         909 Poydras St.
                         Suite 2800
                         New Orleans, LA 70112


                         Lakeside Imports Inc
                         3701 N. Causeway Blvd.
                         Metairie, LA 70002


                         Land Rover Financial Group
                         P.O. Box 78069
                         Phoenix, AZ 85062-8069


                         Legacy Gretna #1 LLC
                         900 Camp Street
                         #359
                         New Orleans, LA 70130
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                         Legacy Gretna #1, LLC
                         900 Camp Street
                         #359
                         New Orleans, LA 70130


                         Leidenheimer Bread Co.
                         1501 Simon Bolivar
                         New Orleans, LA 70113


                         Leidenheimers Bread Co.
                         1501 Simon Bolivar
                         New Orleans, LA 70113


                         Level 3 Communications, LLC
                         1515 Poydras Street
                         New Orleans, LA 70112


                         Liskow and Lewis
                         Attn: Leon Reymond III
                         701 Poydras Street, Suite 5000
                         New Orleans, LA 70139


                         Loop Linen
                         463 Avenue A
                         Westwego, LA 70094


                         Louisiana Department of Revenue
                         P O Box 4969
                         Baton Rouge, LA 70821


                         Louisiana Fresh Produce
                         1001 South Dupree Street
                         New Orleans, LA 70125


                         Maurices Bakery
                         3501 Hessmer Avenue
                         Metairie, LA 70002


                         MCG Legacy 2, LLC
                         425 East 10th Ave.
                         Covington, LA 70433


                         Mockler Beverage Company
                         11811 Reiger Road
                         Baton Rouge, LA 70809
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                         New Orleans Fish House
                         921 South Dupre Street
                         New Orleans, LA 70125


                         NOCBC Metairie #1, LLC
                         900 Camp Street
                         #359
                         New Orleans, LA 70130


                         Omer Rick Keubel
                         601 Poydras St.
                         Suite 2660
                         New Orleans, LA 70130


                         One Pack HG Management, LLC
                         900 Camp Street
                         New Orleans, LA 70130


                         One Pack Hospitality Group, LLC
                         900 Camp Street
                         New Orleans, LA 70130


                         OPHG Baton Rouge #1, LLC
                         900 Camp Street
                         #359
                         New Orleans, LA 70130


                         OPHG Management LLC
                         900 Camp Street
                         New Orleans, LA 70130


                         PM Hotel Owner, LLC
                         817 Common Street
                         New Orleans, LA 70112


                         PNC Bank
                         PO Box 1820
                         Dayton, OH 45401-1820


                         Pontchartrain Systems
                         1901 Jefferson Highway
                         New Orleans, LA 70121
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                         Printing Tech of Baton Rouge INc.
                         11930 South Harrells Ferry Road
                         Baton Rouge, LA 70816


                         Pro Shine Window Cleaning
                         2817 Villa Drive
                         Marrero, LA 70072


                         Purveyor of Fine Wines LTd.
                         1040 Magazine Street
                         New Orleans, LA 70130


                         Randy Fair
                         611 Evans Loop
                         Mansfield, LA 71052


                         Reinhart Foodservice, LLC
                         918 Edwards Avenue
                         Harahan, LA 70123


                         Republic National Distributing Company
                         809 Jefferson Highway
                         New Orleans, LA 70121


                         Samson Business Products
                         2237 North Hullen Street
                         Metairie, LA 70001


                         Samson Business Products INc.
                         2237 North Hullen Street
                         Metairie, LA 70001


                         SBC Restaurants, LLC
                         610 S. Peters Street
                         Suite 305
                         New Orleans, LA 70130


                         Scariano Brothers, LLC
                         201 St. Charles Ave., Suite 4600
                         New Orleans, LA 70170


                         Scariano Brothers, LLC
                         11052
                         Scariano Lane
                         Hammond, LA 70403
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                         Selective Insurance Co of America
                         40 Wantage Avenue
                         Branchville, NJ 07890


                         Sherwin Williams
                         4469 Perkins Road
                         Baton Rouge, LA 70808


                         Southwest Chase Visa
                         PO Box 15123
                         Wilmington, DE 19850-5123


                         State Cleaning Solutions
                         P.O. Box 844284
                         Boston, MA 02284-4284


                         Tax Collector/Sheriff
                         Parish of St. Tammany
                         701 N. Columbia Street
                         Covington, LA 70434


                         Think IT Solutions
                         651 Leson Court
                         Harvey, LA 70058


                         Todd Trosclair
                         1208 Bert Street
                         New Orleans, LA 70123


                         TripleSeat Software
                         50 Beharrell Street
                         Concord, MA 01742


                         Tyler's Pride Produce
                         8 West Union Street
                         Kenner, LA 70062


                         Tylers Pride Produce
                         8 West Union Street
                         Kenner, LA 70062


                         USAA Visa
                         10750 McDermott FWY
                         San Antonio, TX 78288-0570
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                         Wilshire Plaza Investors, LLC
                         3867 Plaza Tower Dr.
                         Baton Rouge, LA 70816


                         Wilshire Plaza Investors, LLC
                         5615 Corporate Blvd.
                         Suite 400B
                         Baton Rouge, LA 70808
